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                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                    October 18, 2024
                                                                   Nathan Ochsner, Clerk
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